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T:§§§AW;§§§,; APC) as sir 30 ss ia= 195 ~
3500 West Olive Avenue, Snite 300 C§§§FT
Bul’banl<, CA 91505 f -~
Telephone: (323)' 744-1146 - 9
Facsimiie: (888) 778-5695

 

Attorneyfor Plainfi]j”
Teres_a Turley

UNIT`ED sTATEs DISTRICT COURT
CENTRAL DISTRICT oF CALIFORNIA

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}_‘ 9
CD

TERESA TURLEY Civii ACtiOn No. n _
' SACV13-_0152'8 GAF (JCX)

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Piaintiff,

>_a
[\.)

ComLAn\IT FOR VIOLATION oF FAIR
vs. CREDIT REPoRTn\IG 'Ac'r

i-a)_\
42va

EXPERIAN INFORMATION - DEMAND FOR JURY TRIAL
SOLUTIONS, INC., and
ADVANTAGE CREDIT
_BUREAU, INC.

)-»->-a)-a
`-~]O\U?

Defendants.

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PRELn\/rn\iARY STATEMEN'I‘

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1. This is an action for damages brought by an individual consumer

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- against the Defendants for violations of the Fair Credit Reporting Act (hereafter the
“FCRA”), 15 U.s.C. §§ 1631 erseq., as amendea.
, J_URISDICTION AND VENUE _
2. Jurisdiction ofthis Court arises under 15 U.S.C._§ 1681p, 28 U.S.C. §§

1331 and 1337.

3. Venue lies properly in this district pursuant to 28 U.S.C. § 139](b).
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COMPLA|NT AND DEMAND FOR JURY TR|AL

 

 

 

Case
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:13-cV-01528-GAF-.]C Document 1 Filed 09/30/13 Page 2 of 10 Page |D #:6

PARTIES-

4. Plaintiff Teresa Turley is an adult individual vvho resides in White
ama Nn 53794. y `

5 . Defendant Experian Inforrnation Solutions, lnc. is a business entity
that regularly conducts business in the Central District of California, and Which has
its headquarters and a principal place of business located at 475 Anton Boulevard,
Costa Mesa, California 92626. t

6. Defendant, Advantage Credit Bureau, Inc. (hereafter “Advantage”) is '
a consumer reporting agency and reseller of credit that regularly conducts business
in the Central District of California, and vvhich has a principal place_of business
located at 112 N. University Drive, Fargo, ND 58108. 7

FACTUAL ALLEGATIONS

7. Defendants have been reporting derogatory and inaccurate statements
and information relating to ,Plaintiff and Plaintiff’s credit history to third parties '
(herea&er the “inaccurate inforrnation”) from at least February 2013 through the
present

8. Tlie inaccurate information includes, but is not limited to, tvvo civil
judgments in Yakirna County, accounts With Bank of A_rnerica, N.A., GECRB/Care
cream cPU/cBNA, GECRB/Chevmn, Amex, rn sank usn/rargetcred, net
Premier Banl<, NCEP LLC, Global Payments Check, Citi Financial, Mcydsnb,
WFDS/WDS, Sears/CBNA and personal information that does not belong to
Plaintiff.

9. Defendants Experian and Advantage have been reporting the
inaccurate information through the issuance of false and inaccurate credit
information and consumer credit reports that they have disseminated to various

persons and credit grantors, both known and unknown

CON|PLA[NT AND DEMAND FOR JURY TR|AL

 

 

Case E§:13-cV-01528-GAF-.]C Document 1 Filed 09/30/13 Page 3 of 10 Page |D #:7
l 10. The inaccurate information negatively reflects upon the Plaintiff,
2 Plaintiff s credit repayment history, Plaintiff’s financial responsibility as aidebter
k 3 and Plaintiff’s credit Worthiness. Th_e inaccurate information consists of accounts
-4 and/or tradelines that do‘not belong to the Plaintiff, and that actually belong to
5 another consumer. Due to Defendants’ Experia_n’s and Advantage’s faulty
6 procedures, these Defendants mixed the credit tile of Plaintiff and that of another
7 ; consumer with respect to the inaccurate information and other personal identifying
8 information ii
9 l ll' Plaintiff has applied for and has been denied various loans and
10 extensions of consumer credit and the basis for these denials was the inaccurate
ll information that appears on Plaintiff’ s credit reports, which was a substantial factor
12 for those denials _
13 l 12. Plaintiff’ s credit reports and file have been obtained from Defendants
14 Experian and Advantage and have been reviewed by pfo spective and existing credit
15 grantors and extenders of credit, and the inaccurate information has been a
16 substantial factor in precluding Plaintiff from receiving credit offers and
17 opportunities, known and unknown
18 13. As a result of Defendants’ conduct, Plaintiff has suffered actual
19 7 damages in the form of lost credit opportunities, harm to credit reputation and credit .
20 score, and emotional distress.
21 14. At all times pertinent hereto, Defendants were acting by and through
22 its agents, servants and/or employees who were acting within the course and scope
23 of their agency or employment, and under the direct supervision and control of the
24 Defendants herein d
25 15. At all times pertinent hereto, the conduct of the Defendants, as well as
' 26 that of its agents, servants andfor employees, was malicious, intentional, willful,
27 7
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CO[V|PLA|NT AND DEIV|AND FOR JURY TR[AL

 

 

 

Case

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. liable to the Plaintiff for willfully and negligently failing to follow the requirements

 

3:13-cv-01528-GAF-.]C Document 1 Filed 09/30/13 Page 4 of 10 Page |D #:8

recl<:less, and in grossly negligent disregard for federal and state laws and the rights '
of willie Plaintiff herein
l ' Fi:Rsr CLAn\/r ron RELIEF -,_~ EXPERIAN
Violaiion OfFCRA

16.' Plaintiff incorporates the foregoing paragraphs as though the sanie
were set forth at length herein ' l

,17. At all times pertinent hereto, Defendant is a “person” and “co'nsurner
reporting agency” as those terms are defined by 15 U.S.C. § 1681a(b) and (f).

18. At all times pertinent hereto, the Plaintiff was a “consumer” as that
term rs trained by 15 U.s.C. § iss`ia(c). _

19. At all times pertinent hereto, the above-mentioned credit reports were
“consumer reports” as that term is defined by 15 U.S.C. § 1681a(d).

20. Pursuant to 15 U.S.C. § 1681n and 15 U.S.C. § 16810, Defendant is

imposed upon a consumer reporting agency under 15 U.S.C. § 1681e(b).

21. - The conduct of Defendant was a direct and proximate cause, as well
as a substantial factor, in bringing about the serious injuries, actual damages and
harm to the Plaintiff that are outlined more fully above and,_ as a result, Defendant
is liable to the Plaintiff for the full amount of statutory, actual and punitive damages,
along with the attorneys’ fees and the costs of litigation, as well as such further
relief, as may be permitted by law. -

SECOND CLAiM ron RELIEF - ADVANTAGE
l/iolaticn ofFCRA

22. Plaintiff incorporates the foregoing paragraphs as though the same
were set forth at length herein. ' 7

23. At all times pertinent hereto, Defendant is a “person” and “consumer
reporting agency” as those tei:ms are defined by 15 U.S.C. 1681a(b) and {f).

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CO|VlPLAlNT AN_D DEN|AND FOR JURY TRlAl_'

 

 

 

 

Case E:13-cV-01528-GAF-`.]C Document 1 Filed 09/30/13 Page 5 of 10 Page |D #:9
' ,1 241 At all times pertinent hereto the Plaintiff was a r“consumer” as that
21 term is defined by 15 U. S. C § 1681a(c).
` 3 25 . At all times pertinent hereto the above-mentioned credit reports were
4 “consumer reports” as that term is defined by 15 U.S.C. § 1681a(d).
. 5 . 26. 7rerun-aia to 15 u.s.c. § main and 15 u.s.C-. § issi@, Defendant 15
6 liable to the Plaintiff for willfully and negligently failing to follow the requirements
7 imposed upon a consumer reporting agency under 15 U.S.C. § 1681e(b). 9
8 27. ` The conduct of Defendant was a direct and proximate cause, as well l
.9 as a substantial factor, in bringing about the serious injuries, actual damages and
10 harm to the Plaintiff that are outlined more fully above and, as a result, Defendant
1 1 is liable to the Plaintiff for the hill amount of statutory, actual and punitive damages,
12 along with the attorneys’ fees and the costs of litigation, as well as such further
13 relief, as may be permitted by law_.
14 JURYTRmL DEMAND
15 . 28. Plaintiff demands trial by jury on all issues so-triable.
16 VII., §
17 PRAYER ron RELI;EF
18 WHEREFORE, Plaintiff seeks judgment in Plaintiff’s favor and
19 damages against the Defendant, based on the following requested relief:
20 (_a) Actual damages;
21 (b) Statutory damages ;
22 (c) Punitive damages;
23 (d) Costs and reasonable attorney’s fees pursuant to 15 U.S.C. §§
24 163111,16810;311<1 `
25 (e) Such other and further relief as may be necessary, just and proper.
26
27
5 .
CO|V|PLA|NT AND DEMAND FOR JURY TR|AL

 

 

 

 

Case 8:13-cV-01528-GAF-.]C Document -1 Filed 09/30/13 Page 6 of 10 Page |D #:10
1 Dated: September M@Q__, 2013 ,Respectfully submitted,
2 1 _ _
3 /§2/
4 ’E`;tar Law Firirai:£ 21rille
5 ` 3500 West Olive Avenue
6' Suite 300 7
Burbank, CA 91505

7 Telephone: (323) 744-1146
8 rFacsimile: (888) 778~5695
9

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COMPE_A|NT AND DEMAND FOR JURY TR|AL

 

 

 

 

Case 8:13-cV-015284GAF-JC Document 1 i|ed 09/30/13 flags 7 of 10 Page |D #:11

Stephanie R. Tatar (237792)

The 'l`atar Law Firin

3500 West Olive Ave.J Suite 300
Burbanl{, CA 91505

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Teresa Turley cAsE NUMBER
SACV13-01528 GAF (JCX)

PLAiNrirF(s)
V .

 

Experian Inforrnation Solutions, Inc. and Advantage '

Credit Bureau, Inc.
SUMMONS

DEFENDANT(s).

 

TO; DEFENDANT(S); Experian lnformation Solutions, Inc. and Advantage Credit Bureau, Inc.

 

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it), you

 

must serve on the plaintiff an answer to the attached lffcomplaint l:| amended complaint

|:| counterclaim 13 cross-claim or a motion under Rule 12 of the Federal Rules of Civil Proeedure. The answer

or motion must be served on the plaintiffs attorney, St€PhBlli@ R- Tatar , Whose address is
3500 West Olive Ave., Suite 300, Burbank, CA 91505 _ If you fail to do 303

 

judgment by default will be entered against you for the relief demanded in the complaint You also must file
your answer or motion with the court.

Clerk, U.S. District Court

Dated: Cl/?)D’lz By: l,QU mow/bg

Dep\@r Clerk
(Set?§}lll“`dil§a

 

[Use 60 days rf the defendant is the United Stai‘es or a Um'ted States ngericy, cr is an cjj’i_cer or employee ofthe Unirea’ Si‘ates. Allowed
60 days by Rule I.Z(a)($)].

 

CV-OlA {12."07} SUMMONS

Case 8:13-cV-01528-GAF-.]C Document 1 Filed 09/30/13 Page 8 of 10 Page |D #:12

UNITEI) STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMEN'I` TO UNITEI) STATES ]UDGES

This case has been assigned to District ]udge Gary A. Feess and the assigned
Magistrate ludge is Iacqueline Chooliian -

 

The case number on all documents filed With the Court should read as follows:

SACV13-01528 GAF (]Cx)

 

Pursuant to General Order 05-07 of the United States District Court for the Central District of
California, the Magistrate judge has been designated to hear discovery related motions '

All discovery related motions should be noticed on the calendar of the Magistrate Iudge.

Clerk, U. S. District Court

 

 

 

September 30, 2013 By Lori Wagers
pate Deputy Clerl<
NOTICE TO COUNSEL

A copy ofthis notice must be served with the summons and complaint on all defendants ( if a removal action is
filed, a copy of this notice must be served on all plaintiijj%).

Subsequent documents must be filed at the following location:

|X| Western Division |:] Southern Division [___| Eastern Division
312 N. Spring Street, G-S 411 West Fourth St., Ste 1053 3470 Twelfth Street, Room 134
Los Angeles, CA 90012 Santa Ana, CA 92701 Riverside, CA 92501
Pailure to file at the prcper location Will result in your documents being returned to you.

 

CV -18 (08/13] NOTICE 017 ASSIGNMENT TO UNITED STA’I'ES ]UDGES

CaS€ 8.13-CV£©EIUBS@HES]GS"I|R®CDMURT, CEHHU®BMUCW@@MQUIP&Q€ |D #. 13

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1 (a) §”LAINTIFFS (Check box if you are representing yourself E|)

Teresa 'l`nrley

(`HV]I.. COVER S

HEET

DEFENDANTS
Experiau information Solul'_ioris, Inc.

Advantage Credit Bureau, lnc.

 

(b) Attomeys ('Firm Name, Address and ”l`elephone Number. If you are representing

yourself, provide same_)

Stephaoie R Tatar, The Tatar Law Firm
3500 West Olive Avenue, Suite 300
Buibank, CA 91 5 05

(325) 144-1146

 

Attorneys (If Known) 7

 

lI. BASIS OF JURISDICTION (Place an X in one box only.)

cl 1U.s.Gevemmee1Pie1na1r afa Federei Qeeeiiee (u.s.

l:l 2 U.S. Govemnient Defendant

Government Not a Party)

l:l 4 Diversity (Indicatc Citizenship

ofParties in Itein III) ,

IV. ORIGIN (Place an X in one box only.)

ta"i oagteei
Proceedi.i:lg

State Court

Appellate Court

|I| 2 Removed from |:l 3 Remanded from |:1 4 Reinstated or

 

II_I. CITIZENSI-HP OF PR]NCI`PAL PARTIES- For Diversity Cases 0on
(Place an X in one box for plaintiff and one for defendant.)

Citizen of This State

Citizen of Another State

Reopened

'PTF
El

[]2

Citizen or Subject of a Foreign Country |:l 3

DEF
|:l 1

1:12

133

13 5 Transferred from another district (speeify]:

V. REQUESTED Il'*l COM_I"LAINT: JURY DEMAND: B'Y_es E| No (Check ‘Yes’ only if demanded in complaint.)

cLAss Ac'rIoN under F.R.c_r. 231 1:1 Yee E(Ne

V'.[. CAUSE OF ACTION (Cite the U.S. Civil Statnte under which you are filing and write a brief statement cf cause. Do not cite jurisdictional statutes unless diversity_)
Fea credit nepeuieg Aer, 15 U.s.c. §§ issi, et eeq. '

VlI. NATURE OF SUIT (Place an X in one box only.)

 
        

   
 
   

 

 

Q{MONEY DEMANDED l`N COM?LA[NT: $

 

   
   

 

 

 

 

PTF DEF

lncorporated or Principal Place 13 4 |I| 4
of Business in this State

Incorpomfed and Principal l’laoe |I| 5 |] 5
ofBu_siness in Anotber State

Foreign Nation

|:|6 |116

13 6 Mult.i- 13 7 Appeal to District

District Iudge from
litigation Magistrate 111ng

  

    
 

  

 

  

    
 
 

   

 

 

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L'_l 460 Deportation Overpayment & Sla“d“ , Property Damage |1] 535 Deatli Pe'nalty Reporting &

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Exchange Overpayment ofl m 360 Ome]. Personal m "' M§§ l:| 620 Other- Food &

Cl 875 Customer Challenge 12 Veteran’s Benetits lnjm.y Votmg Drug
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|!(890 Other Statutory Acrions [1 190 Other Contract Med Majpractice Housing/Acco- Seizure of W

|I| 891 Agriculturai Act 111 195 Contract Product |:| 355 Persona[ lnjury_ umiodations Property 21 USC ft]

|:l 892 Ecouomic Stabilization liability Product Liability l:| 444 Wclfare 881 |:l 862 Black Lu.ug (923)
Act Franch.ise |:l 368 Asbestos Personal |:| 445 'Ainerican' with l:| 630 Liquor Laws |:l 863 DIWC/D WW

|I| 893 Environroental Matters _… Injuxy ProductL Disabili`ties ~ [Il 640 R.R. & Trucic (405(g))

|:| 894 Energy A`flocation Act [] 210 La_nd Cogdem_uation liability Employment l:.l 650 Airline Regs |:l 864 SSID Title XVI

|:| 895 Freedom oflnfc. Act El 220 13 oreclosure l __Vs .. |:| 446 Anierican with 13 660 Occupationa] El 865 RS__I (405 g_))

[I| 900 Appeal of I"ee Determi- El 230 Rent Lease & Ejectrnent m Aa‘»"-ll:_'allt?ja 1013 Disabi]ities - Safety /'Healtl:i . v
nation Uncler Equal [l 240 Torts to Land PP 93 full Other [] 690 Other |:l 870 Taxes (U. 8. Plaintiff
Access to lustice l:l 245 Tort Product Liability ij 463 Ha_beas CGEP“S‘ l:| 440 Otlier Civil or Defendant)

13 950 ceeeamaeeeiuy er r1 290 An other Reei Preperry Al‘e“ Dml_n€e _ sights 13 871 JRS-Third Perry 26
sure santee 13 465 gd;?r Immlgra“°“ usc 7609

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§A("V'l ?-01'528 GAF (]C)(l
FOR OFFICE USE ONLY: Case Nu.mber:

 

AFTER COMPLE.'I`]NG 'I`H'E FRONT Sl'DE OF FORM CV-'TI, COMPLETE THE INFO`RMATION REQUESTED BELOW.

 

cv-ri (05/03)

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Page 1 of 2

Case 8:13-cv-EESES?@W%DIWGR%W&T FF@§WFFYCFMCNWI®H@ |D #: 14

CIVIL COVER HEET
),,,»:¢,

"v"l{l(a1 IDENTICAL CA§.ES: I-las this action been previouslyi filed in this court and dismissed, remanded or ciosed? l§/No 5 Yes
lfyes, list case number(s):

 

Vl]](h). RELATED CASES: Have any cases been previously iiled 111 this court that are related to the present case? E(No 5 Yes
Ifyes, list case numbcr{s): _

 

Civi] cases are deemed related if a previously filed case and the present case:
(Checlc all boxes that apply) 5 A. An`se horn the same or closely related transactions happenings, or events; or
5 B. Call for determination of the same or substantially related or similar questions of law and fact; or
5 C. For other reasons would entail substantial duplication of labor if heard by different judges; or
5 D. Involve the same patent, trademark or copyright, Ld one of the factors identified above in a, b or c also is present

 

]X. VENUE: (When completing the following information, use an additional sheet if necessary.)

- (a) List the County in this Distxiet;'Califomia County outside of this District; State if other than California; or Foreign Country, in which EACH named plaintifl`resides.
5 Check here if the government1 its agencies or employees is a named plaintiff If this box is checked, go to item (b)_

 

Califomia Coimty outside of this Dishict; State, if other than Califomia; or Foreign Conntry
North Dakota

Con.nty in this District: * §

 

 

 

 

 

(b) 'List the County in' this Disn'ict; California County outside of this District; State if other than California; or Foreign Country, in which EACH named defendant resides
5 Checl< here if the government, its agencies or employees is a named defendant lf this box is checked, go to item (c).

 

County in this-District:* Calit`ornia County outside of this District; State, if other than Califorr.\ia; or Foreign Count;y

 

Orange County North Dakota

 

 

 

 

(c) List the Connty in this District; Calil"ornia County outside of this District; State if other than Cal_i_t`ornia; or Foreign Country, in which EACH claim arose.
_Note: In land condemnation eases, use the location of the tract of land involved.

 

County in this Disli'ict:"c Califomia Connty outside of this District; Sta`te, if other than Califomia; Dr Foreign Country

 

Orange County

* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Sa r , r San Luis Ohispo ounties
Note: In land condemnation cases, use the location ofthe tract lan ` olved ,
X. sIGNATURE oF ATToRNEY (oR PRo PER): / \< here q/$@ cl l 5/
Noljce to Counselll’arties: The CV -71 (18~44) Civil%??er$hemmmined herein neither replace nor supplement the filing and service of pleadings

or other papers as required by law. This form, approved by the Judieial Conference of the United States in Septcmber 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose ofstatistics, venue and initiating the civil docket sheet (For more detailed instructions, see separate instructions sheet,)

 

 

 

 

 

 

Key to Stati'stieal codes relating to Social Sec'urity Cases:

Nature of Suit Code Ahbreviation Substani:ive Statement of Cause of Action

361 HIA All claims for health insurance benefits (Medieare) under Title 13, Pa.rt A, of the Social Secun'ty Act, `as amended
Also, include claims by hospitals, skilled nursing facilities etc., for certification as providers of services under the
program (42 U.S.C. 1935.FF(b))

862 BL All claims for “Blaclt Lung” benefits under Title 4, Part B, of the I"ederal Coal Mine Health and Safety Act of 1969.
(30 U.S.C. 923)

863 DIWC All ciai.ms filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child’s insurance beneiits based on disability (42 U.S.C. 405(§))

863 DIWW Ali claims filed for widows or widowers insurance benefts based on disability under Title 2 of the Social Security

"»`a‘» Act, as amended (42 U. S. C. 405(g)}

864 SS]D All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Secnrity
Act, as amended '

865 HI All claims for retirement ’oid age) and survivors oeneiits under iiti de 2 of the Social Security Act, as amended (42
U. S. C. (g))

 

CV-7l (05/03) ClVlL COVER SH_EET Page 2 of 2

